                                                                                                                                   SO ORDERED.


                                                                                                                                   Dated: July 11, 2018




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                                                             2                                                                     Daniel P. Collins, Bankruptcy Judge
                                                                                                                                   _________________________________

                                                             3

                                                             4

                                                             5                           IN THE UNITED STATES BANKRUPTCY COURT
                                                                                               FOR THE DISTRICT OF ARIZONA
                                                             6
                                                                  In Re:                                              Case No. 2:18-bk-00434-DPC
                                                             7
                                                                                                                      Chapter 7
                                                             8    Joseph John Nickerson,
                                                                                                                      ORDER GRANTING MOTION TO
                                                             9                                                        APPROVE SETTLEMENT
                                                                            Debtor.                                   AGREEMENT PURSUANT TO FED. R.
Guttilla Murphy Anderson, P.C.




                                                            10                                                        BANKR. P. 9019 BETWEEN TRUSTEE
                                                                                                                      AND DEBTOR
                           5415 E. High Street, Suite 200
                                Phoenix, AZ 85054




                                                            11
                                  (480) 304-8300




                                                            12             Based upon the Motion to Approve Settlement Agreement Pursuant to Fed. R. Bankr. P.

                                                            13   9019 Between Trustee and Debtor (the “Motion”), filed by Dina L. Anderson, Chapter 7 Trustee

                                                            14   herein (the “Trustee”), requesting the approval of the settlement agreement between Trustee and

                                                            15   Joseph John Nickerson (“Debtor”) to resolve claims that the Trustee has, or may have, related to

                                                            16   the Unexplained Withdrawals made by Debtor pre-petition, to which no objections being received

                                                            17   and further good cause appearing,

                                                            18             IT IS HEREBY ORDERED as follows:

                                                            19             1.    Granting the Motion and Approving the Settlement Agreement; and

                                                            20             2.    In full and final settlement of the claim as set forth in the Motion, the Debtor shall

                                                            21   pay the estate the total sum of $10,000.00 to the Trustee, via certified funds, consisting of an initial

                                                            22   payment of $1,000.00 followed by six (6) monthly payments in the amount of $1,500.00, on the

                                                            23   terms and conditions set forth in the settlement agreement.

                                                            24                                    DATED AND SIGNED ABOVE

                                                             Case 2:18-bk-00434-DPC           Doc 70 Filed 07/11/18 Entered 07/11/18 14:57:17                 Desc
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